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                                                                           March 18, 2022

   BY CM/ECF

   Judges Jordan, Shwartz, and Wilson
   United States District Court
   Middle District of Pennsylvania
   228 Walnut Street
   Harrisburg, PA 17101

                         Re:     Toth v. Chapman, No. 1:22 Civ. 208 (M.D. Pa)

   Dear Judges Jordan, Shwartz, and Wilson,

          I represent the Commonwealth Defendants and write on behalf of all parties to respectfully
   submit a proposed briefing schedule as directed by the Court on March 17, 2022:

          March 28, 2022: Plaintiffs file a brief in support of their motion for summary judgment.

          April 6, 2022: Defendants and Intervenors file briefs in support of their motions for
          summary judgment and in opposition to Plaintiffs’ motion for summary judgment.

          April 12, 2022: Plaintiffs file a reply brief in support of their motion for summary judgment
          and in opposition to Defendants’ and Intervenors’ motions for summary judgment.

          April 18, 2022: Defendants and Intervenors file reply briefs in support of their motions for
          summary judgment.

          In addition, the parties jointly propose a limit of 7,500 words for each brief.

                                                                           Very truly yours,



                                                                           Joshua Matz
   JAM:
